      Case 5:17-cv-00220-LHK         Document 94    Filed 05/12/17       Page 1 of 4



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 8                                 UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11

12   FEDERAL TRADE COMMISSION,                     Case No. 5:17-cv-00220-LHK
13                    Plaintiff,                   ADMINISTRATIVE MOTION OF THE
                                                   AMERICAN ANTITRUST INSTITUTE TO
14   v.                                            FILE MEMORANDUM AS AMICUS
                                                   CURIAE (LOCAL RULE 7-11)
15   QUALCOMM, INCORPORATED, a
     Delaware Corporation,                         Judge:       The Hon. Lucy H. Koh
16
                      Defendant.
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                                                            ADMIN. MOTION OF THE AMERICAN ANTITRUST
     1348395.2                                               INSTITUTE TO FILE MEMO AS AMICUS CURIAE
                                                                             CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK              Document 94        Filed 05/12/17     Page 2 of 4



 1                                            RELIEF REQUESTED
 2               The American Antitrust Institute (“AAI”) hereby moves the Court, pursuant to Local Rule
 3   7-11, for leave to file a memorandum as amicus curiae to assist the Court in deciding defendant’s
 4
     motion to dismiss. The proposed brief is attached as Exhibit A to the accompanying Declaration
 5
     of Richard M. Brunell (“Brunell Decl.”). Counsel for the Federal Trade Commission (FTC)
 6
     advises that the FTC does not oppose the filing an AAI amicus brief. Counsel for Qualcomm
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 8   advises that “Qualcomm will defer to the Court’s discretion on AAI’s motion for leave to file an

 9   amicus brief but requests that, if the Court grants the motion, Qualcomm be given two additional

10   pages in its reply brief on the motion to dismiss, to be used only if and as necessary to respond to
11
     statements or arguments made by AAI.” Brunell Decl. ¶¶ 3, 4.
12

13                           MEMORANDUM OF POINTS AND AUTHORITIES

14   I.          The Court Has the Authority to Permit the AAI to Be Heard

15               “The district court has broad discretion to appoint amici curiae.” Hoptowit v. Ray, 682

16   F.2d 1237, 1260 (9th Cir.1982). “There are no strict prerequisites that must be established prior

17   to qualifying for amicus status; an individual seeking to appear as amicus must merely make a

18   showing that his participation is useful to or otherwise desirable to the court.” Infineon Techs. N.

19   Am. Corp. v. Mosaid Techs., Inc., C 02-5772 JF(RS), 2006 WL 3050849, at *3 (N.D. Cal. Oct.

20   23, 2006) (quoting In re Roxford Foods Litig., 790 F.Supp. 987, 997 (E.D. Cal. 1991)). “District

21   courts frequently welcome amicus briefs from non-parties concerning legal issues that have

22   potential ramifications beyond the parties directly involved or if the amicus has ‘unique

23   information or perspective that can help the court beyond the help that the lawyers for the parties

24   are able to provide.’” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F.Supp.2d 1061,

25   1067 (N.D. Cal. 2005) (quoting Cobell v. Norton, 246 F.Supp.2d 59, 62 (D.D.C. 2003)).

26   II.         Good Cause Exists for Allowing the AAI to Be Heard

27               AAI is an independent nonprofit organization that serves the public through education,

28   research, and advocacy on the benefits of competition and the use of antitrust as a vital

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                                                                                    CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK              Document 94        Filed 05/12/17     Page 3 of 4



 1   component of national and international competition policy. AAI frequently appears as amicus
 2   curiae in important antitrust cases in the Supreme Court and lower federal courts to promote the
 3   development of sound legal doctrine that protects consumers, businesses, and society. For a full
 4   listing of AAI’s amicus briefs and description of AAI’s amicus program, see
 5   http://www.antitrustinstitute.org/aai_activities/amicus-program.
 6               AAI has a longstanding interest in ensuring that standard setting among competitors is not
 7   abused and that FRAND commitments, which are central to preventing abuse, are not evaded. It
 8   has filed several amicus briefs on these matters. See, e.g., Brief of Amicus Curiae The American
 9   Antitrust Institute in Support of Neither Party, Apple, Inc. v. Motorola, Inc., 757 F.3d 1286 (Fed.
10   Cir. 2014); Brief Amici Curiae American Antitrust Institute & Consumer Federation of America
11   in Support of Neither Party, Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297 (3d Cir. 2007).
12   AAI has also been active in advancing the development of monopolization law, the FTC’s
13   “standalone” § 5 authority, and the law governing pleading requirements in antitrust cases.
14   Among other monopolization cases in which AAI has filed an amicus brief (and participated in
15   oral argument in the Supreme Court) is Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S.
16   438 (2009), a key case on which Qualcomm relies.
17               Qualcomm’s motion to dismiss raises the kind of important antitrust questions of
18   widespread significance that are central to AAI’s mission. Qualcomm asks the Court to impose a
19   high bar for pleading raising rivals’ costs and exclusive dealing theories in a monopoly
20   maintenance case under § 2 of the Sherman Act. It also asks the Court to adopt an unduly
21   restrictive interpretation of linkLine. And it questions the scope of the Federal Trade
22   Commission’s “standalone” Section 5 authority in the standard-setting context, an area in which
23   the FTC has been highly active but where the case law is sparse.
24               AAI’s memorandum assists the court by providing legal and other analysis that
25   supplements the parties’ briefs. See Miller-Wohl Co., Inc. v. Comm’r of Labor and Indus. State of
26   Mont., 694 F.2d 203, 204 (9th Cir. 1982) (“classic role of amicus curiae” is “assisting in a case of
27   general public interest, supplementing the efforts of counsel, and drawing the court’s attention to
28   law that escaped consideration”); Gerritsen v. de la Madrid Hurtado, 819 F.2d 1511, 1514 n.3
                                                                   ADMIN. MOTION OF THE AMERICAN ANTITRUST
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                                                                                    CASE NO. 5:17-CV-00220-LHK
      Case 5:17-cv-00220-LHK              Document 94         Filed 05/12/17      Page 4 of 4



 1   (9th Cir. 1987) (granting amicus status so court could avail itself of amicus’s thorough legal
 2   arguments).
 3               Specifically, as to the FTC’s monopolization theory, the AAI’s brief provides additional
 4   authority and analysis on, among other things: (1) the legal standard for establishing exclusionary
 5   conduct under § 2 in general and specifically with respect to theories involving raising rivals’
 6   costs and exclusive dealing; (2) the irrelevance of linkLine given the duty to deal created by
 7   Qualcomm’s FRAND commitment; and (3) pleading standards in § 2 cases. And as to the FTC’s
 8   standalone Section 5 theory, the brief explains how the requisite harm to competition may be less
 9   than or different from the competitive harm required for a § 2 violation and details how the
10   complaint satisfies the requirements for pleading a standalone § 5 violation, an issue that the
11   parties’ briefs do not significantly address. More generally, the brief highlights the importance of
12   using the antitrust laws to police anticompetitive abuse of standard setting.
13                                                 CONCLUSION
14               For the reasons set forth above, this Court should grant the AAI’s request for leave to file
15   a memorandum as amicus curiae to assist the Court in deciding Defendant’s Motion to Dismiss.
16   Dated: May 12, 2017                         Respectfully submitted,
17                                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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                                                                                      CASE NO. 5:17-CV-00220-LHK
